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                                                                 KRAVET & VOGEL, LLP
                                                                           Attorneys at Law




                                               February 11, 2025

BY ECF
Honorable Joseph A. Marutollo
United States Magistrate Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

Re: Government Employees Ins. Co. et al. v. Vladislav Stoyanovsky et al.
    Docket No.: 1:24-cv-01017-PKC-JAM

Dear Magistrate Judge Marutollo:

       We represent defendant Headlam Medical Professional Corporation (“HMPC”).

       Pursuant to Your Honor’s Order & Opinion [Doc. No. 76], HMPC hereby informs the
Court that it consents to the Government’s motion to intervene in the instant proceeding [Doc.
No. 73].

       Respectfully submitted,

       __/s/ Donald J. Kravet_______
        Donald J. Kravet

KRAVET & VOGEL, LLP
555 Fifth Avenue, 14th Fl.
New York, New York 10017
(646) 248-5460
Dkravet@kvnylaw.com

Counsel for Defendant Headlam Medical Professional Corporation




Cc: All counsel via ECF




   555 Fifth Avenue • New York, New York 10017 • 212-997-7634 • 212-986-5316 (fax) • www.kvnylaw.com
                                       DKravet@kvnylaw.com
